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                                                                                         PageID#
                                                                                   IN OPEN COURT
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                                                                                    MAR-5

                         IN THE UNITED STATES DISTRICT COURT                    CLERK, U.S. DISTRICT COURT
                                                                                   ALEXANDRIA. VIRGINIA
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


                                                       )
    Tarik Jaafar,                                      )
                                                       )
                           Plaintif,f                  )
                                                       )
                    V.                                 ) Civil Action No. 1:24-cv-337-AJT-LRV
                                                       )
    David Wozniak, etal.,                              )
                                                       )
                           Defendants.                 )
                                                       )

                                            Verdict Form


         1. With respect to Plaintiffs Excessive Force Claims, we, the jury in the above-titled
 action, unanimously find in favor of:

        Tarik Jaafar       Yes             No.


 If you have indicated no, proceed to the next question.

          If you have indicated yes, mark which of the following Defendants you find liable to
 Plaintiff, and state as to each Defendant the amount of compensatory and punitive damages:

        Capt. David Wozniak
            ● Compensatory Damages
            ● Punitive Damages

        Lt. Carl Costello
            ● Compensatory Damages
            ● Punitive Damages

        Lt. Shanna Nelson (now Rivera)
            ● Compensatory Damages
            ● Punitive Damages

        Sgt. Stanly Miller
            ● Compensatory Damages
            ● Punitive Damages
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        Sgt. Douglas Duhl
            ● Compensatory Damages
            ● Punitive Damages

        Sgt. Jay Conner
            ● Compensatory Damages
            ● Punitive Damages

        Sgt. Kevin Donlan
            ● Compensatory Damages
            ● Punitive Damages

        Sgt. Danial Reeves
            ● Compensatory Damages
            ● Punitive Damages

        2. With respect to Plaintiffs Deliberate Indifference to Medical Needs claims we, the
jury in the above-titled action, unanimously find in favor of:
                                                /
        Tarik Jaafar      Yes            No_Xi


 If you have indicated no, please proceed to have the verdict form signed and dated.

         If you have indicated yes, mark which of the following Defendants you find liable to
Plaintiff, and state as to each Defendant the amount of compensatory and punitive damages:

        Capt. David Wozniak
            ● Compensatory Damages
            ● Punitive Damages

        Lt. Carl Costello
            ● Compensatory Damages
            ● Punitive Damages

        Lt. Shanna Nelson (now Rivera)
            ● Compensatory Damages
            ● Punitive Damages

        Sgt. Stanly Miller
            ● Compensatory Damages
            ● Punitive Damages

        Sgt. Douglas Duhl
            ● Compensatory Damages
            ● Punitive Damages
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        Sgt. Jay Conner
            ● Compensatory Damages
            ● Punitive Damages

        Sgt. Kevin Donlan
            ● Compensatory Damages
            ● Punitive Damages

        Sgt. Danial Reeves
            ● Compensatory Damages
            ● Punitive Damages




 /i/iy J)
 Date                                             Foreperson of the Jui
